












Dismissed and Memorandum Opinion filed April 1, 2010.

&nbsp;

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00054-CV

____________

&nbsp;

NICHOLAS D. BROOKS, Appellant

&nbsp;

V.

&nbsp;

SHAVANIA STEWART, Appellee

&nbsp;



&nbsp;

On Appeal from the 247th District Court

Harris County, Texas

Trial Court Cause No. 2005-78633

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed December 3, 2009.&nbsp; No
clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On March 1, 2010, notification was transmitted to all parties
of the court's intention to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp; See Tex. R. App.
P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Frost, Boyce, and Sullivan. 

&nbsp;





